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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG        *            MDL NO. 2179
“DEEPWATER HORIZON” in the             *
GULF OF MEXICO, on                     *            SECTION J
APRIL 20, 2010                         *
                                       *            JUDGE BARBIER
This document relates to: ALL ACTIONS  *            MAG. JUDGE SHUSHAN
************************************** *

                                          ORDER


      Considering the above and foregoing Ex Parte Motion to Adopt Defendants’

Memorandum in Response to Joint Motion for Protective Order by Anadarko E&P, L.P.,

Anadarko Petroleum Corporation, MOEX Offshore 2007 LLC, and MOEX USA Corporation,;

      IT IS HEREBY ORDERED that Defendants’ Ex Parte Motion to Adopt is GRANTED.

     New Orleans, Louisiana this 17th day of November, 2010. submitted,
                                               Respectfully

                                               /s/ Deborah D. Kuchler
                                               Deborah D. Kuchler, T.A. (La. Bar No. 17013)
                                               Janika D. Polk (La. Bar No. 27608)
                                                          United(La.
                                               Robert E. Guidry   States
                                                                     BarDistrict Judge
                                                                          No. 28064)
                                               KUCHLER POLK SCHELL
                                               WEINER & RICHESON, LLC
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